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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                        I     ATE         FILEo:_JTTZJ&(wo
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JOSE ORLANDO RIVERA, JR.,
                     Plaintiff,                                              20   CIVIL 3958 (SN)

                 -v-                                                              JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                    Defendant.
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         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated November 6, 2020, that the decision of the

Commissioner of Social Security is reversed and that this action be, and hereby is. remanded to

the Commissioner of Social Security, pursuant to sentence four of 42 U .S.C. § 405(g), for further

administrative proceedings.


Dated: New York, New York
       November 9, 2020

                                                                     RUBY J. KRAJICK

                                                                          Clerk of Court
                                                               BY:

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